UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

JANE DOE 43, CASE NO. 17 Civ 616 (JGK)

Plaintiff,
VS.

JEFFREY EPSTEIN, GHISLAINE
MAXWELL, SARAH KELLEN, LESLEY
GROFF, AND NATALYA MALYSHEV

Defendants.

 

 

NOTICE OF MOTION

PLEASE TAKE NOTICE THAT, upon the accompanying memorandum of law and
declaration of Michael C. Miller (with exhibits), Defendants Jeffrey Epstein and Lesley Groff
(“Defendants”) will move the Court, pursuant to Fed. R. Civ. P. 9(b), 10(a), 12(b)(2) and (6),
12(f), and before the Honorable John G. Koeltl, at the United States Courthouse, 500 Pearl
Street, New York, New York 10007, as soon as counsel may be heard, for an Order (1) granting
the Defendants’ motion to dismiss the First Amended Complaint; (2) striking a portion of the

First Amended Complaint if the motion to dismiss is not granted; (3) requiring Plaintiff to amend

élief the Coyft deems just and proper.
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Michael C. Miller

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the caption to proceed in her own name; and (4) any of

Dated: New York, New York
November 21, 2017

 

Counsel for Jeffrey Epstein and Lesley Groff
